             Case 3-18-11255-cjf                            Doc 4          Filed 04/18/18 Entered 04/18/18 14:23:10                   Desc Main
                                                                           Document      Page 1 of 3
                               UNITED STATES BANKRUPTCY COURT, WESTERN DISTRICT OF WISCONSIN
                                                           www.wiwb.uscourts.gov
                                          CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                         Original Plan
                                         Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                         Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

 DEBTOR:              Richard Brewer                                       JOINT DEBTOR:                                    CASE NO.:
 SS#:         xxx-xx-5307                                                  SS#:
I.           NOTICES
             To Debtors:               Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended
                                       plans and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk
                                       pursuant to Local Rules 3015-1, 3015-2, and 3015-3.
             To Creditors:             Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your
                                       claim may be reduced, modified or eliminated.
             To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must
                             check one box on each line listed below in this section to state whether the plan includes any of the
                             following:
 The valuation of a secured claim, set out in Section III, which may result in a     Included                Not included
 partial payment or no payment at all to the secured creditor
 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security           Included                 Not included
 interest, set out in Section III
 Nonstandard provisions, set out in Section VIII                                     Included                 Not included
          TO ALL PARTIES:
          Unless otherwise provided for in this plan, the Trustee shall disburse payments in the following order: administrative
          expenses including trustee and attorney fees, secured claims, priority claims, general unsecured claims.
II.          PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE
             A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including
                trustee's fees beginning 30 days from the filing/conversion date. Debtor(s) will make payments by employer wage order,
                unless otherwise specified herein. The payments must be made for the Applicable Commitment Period, either 36 or 60
                months, or for a shorter period that is sufficient to pay allowed nonpriority unsecured claims in full.

                 1. $ 360 for 60 months;
             The total amount of estimated payments to the trustee: $21,600.00
             B. DEBTOR(S)' ATTORNEY'S FEE:                                           NONE          PRO BONO
 Total Fees: $3,500.00                                     Total Paid: $500.00                          Balance Due:    $3,000.00
 Payable                                                 /month (Months        to                  )




III.         TREATMENT OF SECURED CLAIMS
             A. SECURED CLAIMS:                                          NONE
[Retain Liens pursuant to 11 U.S.C. §1325(a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 1       Creditor: Seterus
         Address:P.O. Box 1077; Hartford, Arrearage/Payoff on Petition Date                          16,000.00
         CT 06143-1077                                               Arrears Payment (Cure) 0.0% interest
 Account No.:
 Other:
   Real Property                                                                            Check one below for Real Property:
           Principal Residence                                                                Escrow is included in the regular payments
           Other Real Property                                                                The debtor(s) will pay     taxes    insurance directly
LF-31                                                                                Page 1 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
               Case 3-18-11255-cjf                            Doc 4          Filed 04/18/18 Entered 04/18/18 14:23:10                      Desc Main
                                                                             Document      Page 2 of 3
                                                                                                                        Debtor(s): Richard Brewer Case number:
   Address of Collateral:

      Personal Property/Vehicle
    Description of Collateral:



   2       Creditor:
           Address:                                                    Arrearage/Payoff on Petition Date

   Account No.:
   Other:
     Real Property                                                                               Check one below for Real Property:
              Principal Residence                                                                  Escrow is included in the regular payments
              Other Real Property                                                                  The debtor(s) will pay     taxes    insurance directly
   Address of Collateral:

      Personal Property/Vehicle
    Description of Collateral:



               B. VALUATION OF COLLATERAL:       NONE
                  IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                  SECURING YOUR CLAIM IN THE AMOUNT INDICATED, A SEPARATE MOTION WILL ALSO BE SERVED
                  UPON YOU PURSUANT TO BR 7004 AND LR 3015-1.
               C. LIEN AVOIDANCE                              NONE

               D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall ot
                  receive a distribution from the Chapter 13 Trustee.
                          NONE
                          The debtor(s) elect to surrender to each secured creditor listed below the collateral that secures the creditor's claim.
                         The debtor(s) request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s)
                         and in rem and in personam as to any codebtor(s) as to these creditors.
                          Other:
         Name of Creditor                                       Account No.                           Description of Collateral (Address, Vehicle, etc.)
   1.    Wells Fargo Auto                                                                             2016 Hyundai Elantra 55,000 miles
                                                                                                      Location: 5534 West Arroyo Court, Janesville WI 53545
E. DIRECT PAYMENTS:
                          NONE
                          The debtor(s) elect to make current payments directly to each secured creditor listed below. Nothing herein is
                         intended to terminate or abrogate the debtor(s)' state law contract rights.
         Name of Creditor                                       Account No.                           Description of Collateral (Address, Vehicle, etc.)
   1.    Seterus                                                                                      5534 West Arroyo Court Janesville, WI 53545 Rock
                                                                                                      County
                                                                                                      Value Pursuant to Tax Assessment
  IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. §1322(a)(4)]
               A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                                       NONE

               B. PRIORITY TAX CLAIMS:                                    NONE

               C. DOMESTIC SUPPORT OBLIGATION(S):                                           NONE      CURRENT AND PAID OUTSIDE

               D. OTHER:                    NONE

  V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS

  Local Form 3015-1.1 12/01/2017                                                   Page 2 of 3
  Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
             Case 3-18-11255-cjf                            Doc 4      Filed 04/18/18 Entered 04/18/18 14:23:10        Desc Main
                                                                       Document      Page 3 of 3
                                                                                                   Debtor(s): Richard Brewer Case number:
             A. Pay                                   /month
             Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
             B. If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
             C. SEPARATELY CLASSIFIED:                               NONE

VI.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay
             relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                       NONE
VII.         INCOME TAX RETURNS AND REFUNDS:                                     NONE
                       Debtor(s) will not provide tax returns unless requested any interested party pursuant to 11 U.S.C. §521.
VIII.        NON-STANDARD PLAN PROVISIONS:                                    NONE

                   PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
 /s/ Wade M. Pittman                                                                      April 17, 2018
 Wade M. Pittman 1090712                                                                  Date
 Attorney with permission to sign on Debtor(s)' behalf

 /s/ Richard Brewer                                   Debtor         April 17, 2018
 Richard Brewer                                                      Date

 /s/ Wade M. Pittman                                                                      April 17, 2018
 Wade M. Pittman 1090712                                                                  Date
 Attorney with permission to sign on Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.




Local Form 3015-1.1 12/01/2017                                              Page 3 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
